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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                      :
                                              :
               v.                             :        Case No. 22-cr-186 (TJK)
                                              :
RALPH JOSEPH CELENTANO III,                   :
                                              :
               Defendant.                     :



                          GOVERNMENT’S RESPONSE TO
                    DEFENDANT’S MOTION REGARDING VOIR DIRE

       The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, respectfully submits this response to the Defendant’s Motion regarding

voir dire. (ECF No. 34.)     It is the government’s intention to submit a list of proposed voir dire

questions for the Court to pose to the entire panel, which will be consistent with the questions

posed to other panels in the January 6, 2021 riot related cases.

       It is the understanding of undersigned counsel that, consistent with the practice of other

judges in this District, the Court conducts voir dire by posing a set of questions to the entire jury

panel and then follows up with individualized questions to prospective jurors, one by one, out of

the presence of the entire panel. This is the method requested by defendant, and the government

concurs with this process.

       Regarding the defendant’s request that counsel for both parties ask follow-up questions,

the government opposes that technique. Instead, consistent with the practice of other judges in

this District, the government suggests that any follow-up questions desired by counsel be proposed

to the Court outside the presence of the prospective juror. The opposing party can state their




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position, and the Court can determine what questions are relevant and pose those questions to the

prospective juror.



                                            Respectfully submitted,

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